Case 2:10-cv-06576-MMM-JCG Document 81 Filed 12/06/17 Page 1 of 2 Page ID #:1260

                                                                                FILED
                        UNITED STATES COURT OF APPEALS                          DEC 06 2017

                                                                            MOLLY C. DWYER, CLERK
                               FOR THE NINTH CIRCUIT                          U.S. COURT OF APPEALS




   NIKOLAI GRIGORIEV and ANDREW                      No. 12-57055
   SMUKLER,
                                                     D.C. No. 2:10-cv-06576-MMM-
                 Plaintiffs - Appellants,            JCG
                                                     Central District of California,
     v.                                              Los Angeles

   DON CHARNEY; et al.,
                                                     ORDER
                 Defendants - Appellees.


          This appeal has been held in abeyance pending bankruptcy developments.

  Accordingly, the appeal is closed for administrative purposes.

          This administrative closure is not a decision on the merits and is not an

  appealable final order. No mandate will issue in connection with this

  administrative closure.

          Any party may request that this court reopen this appeal at any time before

  December 6, 2018. If no request to reopen is filed and served on or before

  December 6, 2018, the appeal will be deemed dismissed with prejudice and the

  mandate will issue.




  SL/Mediation
Case 2:10-cv-06576-MMM-JCG Document 81 Filed 12/06/17 Page 2 of 2 Page ID #:1261




           Any objection to this order must be filed within 14 days of the date of this

  order.

                                                  FOR THE COURT


                                                  By: Stephen Liacouras
                                                  Circuit Mediator




  sl/mediation




  SL/Mediation
